                     Case 1:13-cr-10149-FDS Document 5-1 Filed 05/21/13 Page 1 of 2
"'S 45 (5/97) - (Revised U.S. D.C. MA 3/25/20 II)

Criminal Case Cover Sheet                                                                  U.S. District Court - District of Massachusetts

Place of Offense:                              Category No.           I                    Investigating Agency         FBIIIRS

City       Boston                                          Related Case Information:

County         Suffolk                                     Superseding Ind.l Inf.                           Case No.
                                                           Same Defendant                              New Defendant
                                                           Magistrate Judge Case Number
                                                                                                                        ----­
                                                           Search Warrant Case Number              13:M1:2 168-2170, 21 72-MBB
                                                           R 20/R 40 from District of

Defendant Information:

Defendant Name           Edward 1. MACKENZIE, Jr.   Juvenile:                                                   DYes [{]No
                         -----------~--------------
                          Is this person an attorney and/or a member of any state/federal bar:                  DYes [{] No
Alias Name
Address                   (City & State) Boston and Weymouth, MA

Birth date (Yronly): 1958 SSN (last4#): 722_4_ Sex M                             Race: White                Nationality: U.S,.
                                                                                                                                ------
Defense Counsel if known:                      Edward V. Colbert, III                     Address Looney & Grossman LLP

Bar Number                                                                                             101 Arch Street Boston, MA 02110

U.S. Attorney Information:

AUSA          Zachary R. Hafer & Dustin Chao                                    Bar Number if applicable

Interpreter:              DYes            [l]No                      List language and/or dialect:

Victims:                  [(]Yes DNo If yes, are there multiple crime victims under 18 USC§3771 (d)(2)                  DYes        [{]No

Matter to be SEALED:                     [{] Yes          D     No

          [{]Warrant Requested                                D Regular Process                        D   In Custody

Location Status:

Arrest Date

DAJready in Federal Custody as of
                                                           --------------
DAlready in State Custody at - - - - - - - - - - - - - Derving Sentence
                                                                                             in
                                                                                                                [}..waiting Trial
DOn Pretrial Release:              Ordered by:                                                    on

Charging Document:                        DComplaint                      D Information                     [{] Indictment

Total # of Counts:                        DPetty--­                       o Misdemeanor                     [{]Felony
                                                                                                                           14


                                                    Continue on Page 2 for Entry of U.S.c. Citations

          I hereby certify that the case numbers of any prior proceedings before a Ma . trate Judge are
          accurately set forth above.

Date:      May 21,2013                                 Signature of AUSA.
                    Case 1:13-cr-10149-FDS Document 5-1 Filed 05/21/13 Page 2 of 2

JS 45 (5197) (Revised U.S.D.C. MA 1217/05) Page 2 of2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant               Edward J. MACKENZIE, JR.

                                                                    U.S.C. Citations
                Index Key/Code                                     Description of Offense Cbar&ed         Count Numbers
                                                    RICO conspiracy
Set 1     18 USC 1962(d)

                                                    Racketeering
Set 2     18 USC 1962(c)                                                                            2

                                                    Mail Fraud Conspiracy
Set 3     18 USC 1349                                                                               3,4

                                                    Money Laundering Conspiracy
Set 4     18 USC 1956(h)                                                                            5

                                                    Extortion
Set 5     18 USC 1951                                                                               6

                                                    Wire Fraud
Set 6     18 USC 1343                                                                               7,8,9,10, 11,12,13,14


Set 7


Set 8


Set 9

Set 10 _ _ _ _ _ _ _ __


Set II

Set 12 _ _ _ _ _ _ _ __


Set 13 _ _ _ _ _ _ _ __


Set 14 _ _ _ _ _ _ _ __


Set 15 _ _ _ _ _ _ _ __

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
